Case 19-43402-mxm11 Doc 144 Filed 11/25/19              Entered 11/25/19 12:00:35      Page 1 of 2



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                               UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION

  IN RE:                                           §   CHAPTER 11
                                                   §
  ROOFTOP GROUP INTERNATIONAL                      §   CASE NO. 19-43402-MXM-11
  PTE. LTD,                                        §
                                                   §
            Debtor.                                §

         TRIUMPHANT GOLD LIMITED’S JOINDER IN OBJECTION BY
           OFFICIAL COMMITTEE OF UNSECURED CREDITORS TO
   DEBTOR’S SECOND MOTION TO EXTEND TIME TO FILE A CHAPTER 11 PLAN
                         [Relates to Dkt No. 142]

           Triumphant Gold Limited (“TGL”), creditor, hereby files this its Joinder in Objection by

 Official Committee of Unsecured Creditors to Debtor’s Second Motion to Extend Time to File a

 Chapter 11 Plan.

          1.        On November 5, 2019, Debtor Rooftop Group International Pte. Ltd. filed its

 Second Motion to Extend Time to File a Chapter 11 Plan [Dkt. No. 136].

          2.        On November 22, 2019, the Official Committee of Unsecured Creditors filed its

 Objection to Debtor’s Second Motion to Extend Time to File a Chapter 11 Plan [Dkt. No. 142].

          3.        Creditor TGL hereby joins in the Official Committee of Unsecured Creditors’

 objection.



 TGL’S JOINDER IN OBJECTION BY OFFICIAL COMMITTEE OF UNSECURED CREDITORS TO
 DEBTOR’S SECOND MOTION TO EXTEND TIME TO FILE A CHAPTER 11 PLAN                           PAGE 1
Case 19-43402-mxm11 Doc 144 Filed 11/25/19             Entered 11/25/19 12:00:35        Page 2 of 2



        WHEREFORE, PREMISES CONSIDERED, TGL respectfully requests that the Court

 deny the relief sought in the Debtor’s Second Motion to Extend Time to File a Chapter 11 Plan,

 and grant such other and further relief as the Court may deem just and proper.

  Dated: November 25, 2019                         Respectfully submitted,

                                                   /s/ Laura M. Fontaine

                                                   Katharine Battaia Clark
                                                   Texas State Bar No. 24046712
                                                   Britton D. McClung
                                                   Texas State Bar No. 24060248
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                                                   ATTORNEYS FOR TRIUMPHANT
                                                   GOLD LIMITED


                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing instrument has been

 served electronically via the Court’s ECF noticing system on those parties who receive notice from

 that system on the 25th day of November, 2019 via electronic mail.

                                                             /s/ Laura A. Fontaine
                                                              Laura A. Fontaine




 TGL’S JOINDER IN OBJECTION BY OFFICIAL COMMITTEE OF UNSECURED CREDITORS TO
 DEBTOR’S SECOND MOTION TO EXTEND TIME TO FILE A CHAPTER 11 PLAN                            PAGE 2
